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17
                                 UNITED STATES DISTRICT COURT
18
                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
19
   AARON BRAXTON, GIA GRAY, BRYAN                      Case No. 3:22-cv-01748-JD
20 BROWN AND PAUL MARTIN, on behalf of
   themselves and all others similarly situated,       Honorable James Donato
21
                 Plaintiffs,                           THE BRAXTON PLAINTIFFS’
22                                                     OPPOSITION TO THE MOTION FOR
          vs.                                          APPOINTMENT OF INTERIM LEAD
23                                                     COUNSEL FILED BY GUSTAFSON
   WELLS FARGO BANK, N.A., a Delaware                  GLUEK PLLC
24 corporation; WELLS FARGO HOME
   MORTGAGE, INC., a Delaware corporation;             Date:        October 20, 2022
25 WELLS FARGO & CO., a Delaware                       Time:        10:00 a.m.
   corporation,                                        Location :   Courtroom 11
26                                                                  United States Courthouse
                                                                    450 Golden Gate Avenue
27                                                                  San Francisco, CA 94102

28
     2105464.2                                                          Case No. 3:22-cv-01748-JD
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.       PRELIMINARY STATEMENT

 3          Plaintiffs agree on at least one point—Wells Fargo’s treatment of minority refinancing

 4 applicants during the COVID-19 pandemic was blatantly discriminatory. The Braxton Plaintiffs,

 5 who are exclusively Black refinance applicants, however, agree with the Court that their claims

 6 are not (and should not be) “subsumed” in the claims of the other class representative plaintiffs in

 7 Perkins, Williams, Ebo, Pope and Thomas.1 Wells Fargo’s discrimination was most pernicious

 8 when it came to Black applicants who sought to refinance their mortgages. The Braxton Plaintiffs

 9 identified the extreme treatment of Black homeowners when they first prepared their claims

10 against Wells Fargo, and the Braxton Plaintiffs’ ongoing investigation has confirmed the invidious

11 discrimination faced by Black homeowners at the hands of Wells Fargo. For this reason, the

12 Court should not force the Braxton class to merge with classes seeking relief on behalf of all

13 minorities. Nor, as explained in the Braxton Plaintiffs’ Opposition to Wells Fargo Bank, N.A. and

14 Wells Fargo & Company’s Motion to Consolidate,2 should the Court force the Braxton class into a

15 case involving claims beyond discrimination in refinancing. The Perkins Plaintiffs’ Motion for

16 Appointment of Interim Lead Counsel should, therefore, be denied.

17          A motion for consolidation should not be granted when consolidation would impede

18 justice and infringe the interests of the parties. Campbell v. PricewaterhouseCoopers, No. CIV S-

19 06-2376LKK/GGH, 2008 WL 3836972, at *3 (E.D. Cal. Aug. 14, 2008) (“Considerations of
20 convenience and economy must yield to a paramount concern for a fair and impartial trial.”). It is

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     1
      Class counsel in Williams v. Wells Fargo Bank, N.A., Case No. 3:22-cv-00990-JD (“Williams”),
23 Ebo v. Wells Fargo Bank, N.A., Case No. 3:22-cv-02535-JD (“Ebo”); Pope v. Wells Fargo Bank,
   N.A., Case No. 3:22-cv-01793-JD (“Pope”); and Thomas v. Wells Fargo Bank, N.A., Case No.
24 3:22-cv-01931-JD (“Thomas”) likewise seek to consolidate and be appointed as interim lead
   counsel, just as Gustafson Gluek (“Gustafson”) does, which is not surprising as each of these cases
25 would be considered later filed with respect to the claims of Black refinancing applicants, as
   Braxton was the first case to assert such claims.
26 2 Pursuant to the concurrently filed Request for Judicial Notice, the Braxton Plaintiffs ask this
   Court to take judicial notice of Plaintiffs Aaron Braxton et. al’s Opposition to Wells Fargo Bank,
27 N.A. and Wells Fargo & Company’s Motion to Consolidate, filed on August 26, 2022, in the
   matter of Williams v. Wells Fargo, Case No. 3:22-cv-00990-JD, at Dkt. 70, a true and correct copy
28 of which is attached to the concurrently filed Request for Judicial Notice as Exhibit D, and ask it
   to consider the points and authorities referenced therein when ruling on this motion.
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 1 the district court’s responsibility to ensure that the parties are not prejudiced by consolidation.

 2 Southwest. Marine, Inc. v. Triple A Mach. Shop, Inc., 720 F. Supp. 805, 807 (N.D. Cal. 1989) (“To

 3 determine whether to consolidate, a court weighs the interest of judicial convenience against the

 4 potential for delay, confusion and prejudice caused by consolidation.”).

 5               The consequence of consolidating the related actions here is the dilution of Braxton’s

 6 narrow refinancing claims into broader residential credit claims that, as the Braxton Plaintiffs have

 7 already demonstrated, would potentially obscure Wells Fargo’s established and extensive

 8 discrimination against Black homeowners with respect to refinancing. Unlike Perkins and other

 9 cases pending before this Court, Braxton is specifically and solely about discrimination against

10 Black homeowners in the mortgage refinancing process beginning in or around January 2018.

11 Combining the Braxton Plaintiffs with the Perkins putative class—which includes all minority

12 applicants and mortgage origination applicants–-could hurt the Braxton Plaintiffs’ ability to certify

13 their class. The Braxton Plaintiffs filed on behalf of only Black homeowners discriminated

14 against in the refinancing process, in part, because of the ease of certifying their class, and they

15 will be prejudiced if they are denied that opportunity.

16               The fact remains, as the Braxton Plaintiffs illustrated in their opposition to Wells Fargo’s

17 motion to consolidate, that consolidation is inappropriate when, as here, concerns of “delay,

18 confusion, and prejudice” outweigh “the interest of judicial convenience.” Southwest Marine, Inc.

19 v. Triple A Machine Shop, Inc., 720 F. Supp. 805, 807 (N.D. Cal. 1989). Overall, “considerations
20 of convenience and economy must yield to a paramount concern for a fair and impartial trial.”

21 Campbell, 2008 WL 3836972, at *3 (citing Johnson v. Celotex Corp., 899 F.2d 1281, 1484 (2d

22 Cir. 1990)). Purported convenience and economy cannot “override the Plaintiffs’ autonomy in

23 mastering their own complaints.” Anderson Living Tr. v. WPX Energy Prod., LLC, 297 F.R.D.

24 622, 631 (D.N.M. 2014). This is especially true when any efficiencies can be achieved without

25 formal consolidation. Campbell, 2008 WL 3836972, at *2-3 (“[M]any of the efficiency gains

26 sought to be achieved by consolidation can also be achieved without consolidation.”).

27               In addition, it would be inappropriate to allow the attorneys who filed the Perkins case—

28 filed three months after Braxton—to usurp control of the Braxton case from the firms who initially
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 1 filed the only claims solely on behalf of Black homeowners. As noted, the Braxton claims have

 2 been substantially developed already, and the Braxton amended complaint is far more detailed

 3 than the complaint filed in Perkins, including relaying information gleaned from numerous

 4 confidential informants. See Cadena v. Am. Honda Motor Co. Inc., 18-cv-4007-MWF (PJWx),

 5 2020 WL 3107798, at *4 (C.D. Cal. June 9, 2020) (selecting as interim lead counsel the two firms

 6 that prepared the most “detailed complaints”). Taking the Braxton case away from the Braxton

 7 Firms, whose lead counsel and attorneys are uniquely situated to address the discrimination

 8 against Black homeowners, would, inter alia, prejudice the Braxton class by removing the counsel

 9 that has singularly promoted the interests of solely Black homeowner refinance applicants since

10 filing the first and only class action on behalf of such applicants.

11          The Braxton Firms have demonstrated leadership and the ability to act in the best interests

12 of the class by independently pleading a strong, well-supported complaint. Given the Braxton

13 Plaintiffs’ considerable development of their case at this preliminary stage (and given the Braxton

14 Firms’ qualifications to lead the class), the Court should appoint interim lead counsel the firms

15 who brought the Braxton case for Black homeowners who sought refinancing from Wells Fargo

16 and were denied for discriminatory reasons.3

17 II.      BACKGROUND

18          A.      Procedural History

19                  1.      The Complaints
20          On March 18, 2022, Plaintiff Aaron Braxton and the Braxton Firms (Ellis George Cipollone
21 O’Brien Annaguey LLP (“EGC”) and Frank, Sims, & Stolper LLP (“FSS”)) filed the first putative

22 class action against Wells Fargo on behalf of Black homeowners who had submitted refinance

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25    Also pursuant to the concurrently filed Request for Judicial Notice, the Braxton Plaintiffs ask
   this Court to take judicial notice of Plaintiffs Aaron Braxton et. al.’s Motion for Appointment of
26 Interim Lead Counsel for a Putative Refinancing Class, filed on July 28, 2022 in the matter of
   Braxton v. Wells Fargo, Case No. 4:22-cv-01748-JD, at Dkt. 45, a true and correct copy of which
27 is attached to the concurrently filed Request for Judicial Notice as Exhibit A, as well as the
   Declarations of Dennis S. Ellis and Jason M. Frank in support of that motion, attached to the
28 Request for Judicial Notice as Exhibits B and C, and ask it to consider the points and authorities
   referenced therein when ruling on this motion.
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 1 applications to Wells Fargo and were harmed by Wells Fargo’s race-based discrimination. Dkt. 1.4

 2 Subsequently, the Braxton Plaintiffs filed a First Amended Complaint (“FAC”) providing a detailed

 3 account of Wells Fargo’s refinancing application process, its increased reliance on algorithms, and

 4 its CORE automated underwriting system. Dkt. 14 at ¶¶ 70-78.

 5          There are five additional putative class actions pending in this District: (1) Williams v. Wells

 6 Fargo Bank, N.A., Case No. 3:22-cv-0090-JD; (2) Pope v. Wells Fargo Bank, N.A., Case No. 3:22-

 7 cv-01793-JD; (3) Thomas v. Wells Fargo Bank, N.A., Case No. 3:22-cv-01931-JD; (4) Ebo v. Wells

 8 Fargo Bank, N.A., Case No. 3:22-cv-02535-JD; and (5) Perkins, et al. v. Wells Fargo, N.A., Case

 9 No. 3:22-cv-03455-JD. The Court has already related all six of these pending actions.

10          The Williams case was originally filed on February 17, 2022, on behalf of a broad class of

11 African Americans who applied for any credit related to residential real estate. Case No. 3:22-cv-

12 0090, Dkt. 1 at ¶ 19. The initial Williams complaint made no allegations about refinancing, much

13 less about how Wells Fargo’s refinancing practices were specifically designed to discriminate

14 against Black applicants. After the Braxton case was filed, the Williams plaintiffs amended their

15 complaint to include scant allegations about discrimination in refinancing but, unlike Braxton, the

16 Williams plaintiffs continued to seek to represent a class of all African Americans discriminated

17 against with respect to all residential real estate loan applications over the course of an undefined

18 period of time. Case No. 3:22-cv-0090, Dkt. 22.

19          As to the four other pending actions, the Pope and Thomas actions were filed subsequent
20 to the Braxton action and largely repeated the Braxton allegations. The proposed classes in Pope

21 and Thomas, while limited to discrimination in refinancing seek to represent a class of “all first

22 and second lien Wells Fargo minority [not limited to Black] mortgage refinance applicants …

23 whose refinancing applications were discriminatorily denied.” Case No. 3:22-cv-01793, Dkt. 6 at

24 ¶ 34; Case No. 3:22-cv-01931, Dkt. 1 at ¶ 35 (emphasis added).

25          The Ebo and Perkins plaintiffs who also filed their lawsuits after Braxton, like the

26 Williams plaintiffs, seek to represent classes of applicants discriminated against with respect to

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     4
28     Unless otherwise noted, citations to “Dkt.” refer to docket entries in Braxton v. Wells Fargo,
     Case No. 3:22-cv-01748-JD.
     2105464.2                                        -4-                          Case No. 3:22-cv-01748-JD
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 1 mortgage loans as well as refinancing. Ebo proposes a class of “[a]ll Black Americans [] who

 2 submitted applications to obtain or refinance a mortgage loan with respect to residential real

 3 property” and suffered from discrimination during an undefined period of time. Case No. 3:22-cv-

 4 02535, Dkt. 1 at ¶ 50. Perkins proposes a class of all minority applicants who suffered

 5 discrimination in financing or refinancing: “[a]ll Black persons, as well as other racial minorities

 6 [who] submitted, or attempted to submit, an application to finance or refinance their home

 7 mortgage.” Case No. 3:22-cv-03455, Dkt. 1 at ¶ 56.

 8                      2.     Wells Fargo’s Motion to Dismiss Braxton

 9               On June 13, 2022, Wells Fargo moved to dismiss the Braxton complaint under the first-
10 filed rule because, according to Wells Fargo, the narrow Braxton refinancing class was subsumed

11 by the broader Williams class. Dkt. 39. Notably, Wells Fargo did not move to dismiss any of the

12 other related cases. The Braxton Plaintiffs opposed, and on July 19, 2022, the Court denied Wells

13 Fargo’s motion to dismiss, explaining that

14                      [t]he Williams action involves a proposed class of African American
                        applicants who applied for, received, or maintained credit from Wells
15                      Fargo related to residential real estate, while the Braxton action
                        involves a proposed class of African American homeowners who
16                      submitted applications to refinance their home mortgages. The cases
                        are sufficiently similar for purposes of relation under the District’s
17                      local rules, but not so similar that Braxton is subsumed in Williams.
18 Dkt. 44 (emphasis added).

19                      3.     Braxton Seeks Appointment of Interim Counsel
20               On July 28, 2022, the Braxton Plaintiffs filed a Motion for Appointment of Interim
21 Counsel for a Putative Refinancing Class. Braxton Plaintiffs’ Request for Judicial Notice, Exh. A.

22 As stated in that motion, Braxton was the first filed case on behalf of a putative class of Black

23 homeowners discriminated against in the refinancing process, and the Braxton Firms have already

24 performed an extensive investigation relating to that specific class, have the experience and

25 resources necessary to prosecute the case on behalf of Black homeowners, and will be prejudiced

26 if lumped into a broader class of origination plaintiffs and/or non-Black applicants. Id. at 1. The

27 Braxton Firms do not seek to be appointed counsel for prospective borrowers harmed outside the

28 refinancing process and do not seek to be appointed counsel for non-Black homeowners. Id.
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 1               The Braxton motion triggered the filing of similar motions by counsel for Williams, Ebo,

 2 Thomas, Pope, and Perkins.

 3               B.      The Advanced Braxton Amended Complaint

 4               The Braxton Plaintiffs intentionally brought their case only on behalf of Black

 5 homeowners who sought to refinance existing loans through Wells Fargo. The Braxton Plaintiffs’

 6 continuing development of their case has only cemented their position that their class was

 7 uniquely affected by Wells Fargo’s discriminatory practices. The facts reflected in the Braxton

 8 FAC demonstrate that the Braxton Plaintiffs are already pursuing their claims on a faster timeline

 9 than the remaining cases Wells Fargo seeks to combine with Braxton.

10               The Braxton Plaintiffs, in their 198 paragraph FAC, explain Wells Fargo’s COVID 19-era

11 refinancing application process in detail, beginning with Wells Fargo’s steps gathering geographic,

12 financial, and demographic data into Wells Fargo’s Form 1003 through a platform developed by

13 Blend Labs, including details about specific in-person efforts to gather information on applicants

14 that could identify them as Black homeowners. Dkt. 14 at ¶¶ 70-77. Next, the Braxton Plaintiffs

15 explain, the information that has been gathered, including the data reflecting racial judgments, is

16 inputted into Wells Fargo’s “CORE” automated underwriting system. Id. at ¶ 78. According to the

17 confidential informants the Braxton Plaintiffs spoke to, CORE then classifies applicants into four

18 categories, two of which automatically approved the loan, one of which referred the application to

19 manual underwriting, and one of which automatically denied the application. Id. Black refinancing
20 applicants were consistently relegated to the latter categories. Id. Further, again according to

21 confidential informants, Wells Fargo severely understaffed the underwriting departments designed

22 to flag potentially discriminatory outcomes, even going so far as to announce internally a decision to

23 increasingly rely on the automated underwriting system. Id. at ¶ 82.

24               Underlying that automated underwriting system, the Braxton Plaintiffs’ investigation

25 shows, were “overlays” that served to single-out refinancing applications from Black

26 homeowners. Dkt. 14 at ¶¶ 83-91. These overlays included geographic indicators, used to

27 identify borrowers with property in Black-majority neighborhoods and classify them as lending

28 risks, id. at ¶ 84; post-closing liquidity requirements, which Wells Fargo dramatically increased
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 1 during the pandemic knowing that Black Americans typically hold less than one-third the liquid

 2 assets as White Americans, id. at ¶¶ 85-86; racially biased appraisals, which Wells Fargo plugged

 3 into its automated underwriting system without making any adjustment for the well-known

 4 disparity between the appraisal values of Black-owned properties as compared to equivalent

 5 White-owned properties, id. at ¶¶ 89-90; and increased FICO requirements which, according to a

 6 confidential informant, Wells Fargo moved its minimum requirement from 600 to 620, removing

 7 four times as many Black applicants as White applicants from consideration, id. at ¶ 91. The

 8 Braxton FAC also detailed the pernicious demographic indicators overlayed onto the Wells Fargo

 9 algorithm. The overlays use Bayesian Improved Surname Geocoding and other advanced

10 statistical measures to estimate the likelihood that an individual is a Black American given their

11 surname and location. The FAC relays information from responsible employees at Wells Fargo,

12 even listing the specific equations involved. Id. at ¶¶ 87-88.

13               Finally, the Braxton FAC explains how these practices at Wells Fargo led to

14 discriminatory results against Black homeowners in the refinancing process, noting that the

15 underwriters with supposed oversight of the process were systematically disincentivized to check

16 the results of the automatic system, despite Wells Fargo’s knowledge of discriminatory outcomes.

17 Id. at ¶¶ 100-05. Then the complaint reveals the extent of the impact on Black homeowners as

18 seen through public statistics. Id. at ¶¶ 106-19.

19               The Williams, Pope, Thomas, Ebo and Perkins complaints, on the other hand, do not
20 contain the same detailed factual allegations or support. Williams only mentions “redlining” and

21 does not describe the refinancing application process, does not address the automated underwriting

22 system, does not mention, let alone explain any overlays, and does not address underwriting

23 staffing. Pope and Thomas also only contain references to “redlining” and provide no explanation

24 of Wells Fargo’s underlying practices. The amended Pope complaint is 70 paragraphs long, with

25 33 paragraphs of factual allegations. See Case No. 4:22-cv-01793, Dkt. 6. The Pope complaint

26 pastes charts and cites statements from Bloomberg articles and analysis, as well as an analysis by

27 the Boston Federal Reserve. Id. The Pope complaint includes three paragraphs about the Wells

28 Fargo application process, id. at ¶¶ 25-27, and does not describe in detail Wells Fargo’s process in
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 1 collecting and analyzing applicant information. The only data discussed in the Pope complaint is

 2 drawn from a Bloomberg analysis. The Thomas complaint is identical to the Pope amended

 3 complaint in all material respects, again only reflecting data drawn from the Bloomberg analysis.

 4 Compare Case No. 4:22-cv-01793, Dkt. 6, with Case No. 3:22-cv-01931, Dkt. 1. Ebo does not

 5 address or elaborate on Wells Fargo’s automated underwriting system or its discriminatory

 6 overlays. The 84 paragraph Ebo complaint, including 49 paragraphs of factual allegations, also

 7 draws extensive data from the Bloomberg analysis, see Case No. 3:22-cv-02535, Dkt. 1 at ¶¶ 19-

 8 20, and purports to make two allegations based on a review of the data that Bloomberg also

 9 reviewed, id. at ¶¶ 23-25. The complaint makes no allegations about Wells Fargo’s collecting of

10 information from applicants and makes no allegations about Wells Fargo’s algorithm or

11 underwriting practices.

12               The Perkins complaint, filed three months after Braxton, contains 102 paragraphs, 22 of

13 which are factual allegations. Perkins states that Wells Fargo’s machine learning processes are

14 responsible for Wells Fargo’s discriminatory outcomes (repeating many of the allegations made in

15 the original Braxton complaint), but it does not detail the information incorporated into the

16 algorithm aside from an applicant’s location. Perkins summarizes the totality of Wells Fargo’s

17 discriminatory scheme in five generic paragraphs. Case No. 3:22-cv-03455, Dkt. 1 at ¶¶ 36-40.

18               In contrast to the Braxton FAC, there are no allegations in Williams, Pope, Thomas, Ebo,

19 or Perkins reflecting detailed information gleaned from confidential informants.
20 III.          LEGAL STANDARDS

21               A.      Motion to Consolidate

22               Courts have ample discretion to decline to consolidate cases before them, even cases that

23 have some common issues of fact and law. Campbell, 2008 WL 3836972, at *2 (E.D. Cal. Aug.

24 14, 2008). A party moving for consolidation has the burden of “establishing that the judicial

25 economy and convenience benefits of consolidation outweigh any prejudice that would result from

26 consolidation.” Cook v. AT&T Mobility, LLC, No. 10-cv-8870 R (OPx), 2011 WL 13217794, at

27 *1 (C.D. Cal. Jan. 7, 2011). When assessing a consolidation motion, “considerations of

28 convenience and economy must yield to a paramount concern for a fair and impartial trial.”
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 1 Campbell, 2008 WL 3836972, at *3 (citing Johnson v. Celotex Corp., 899 F.2d 1281, 1484 (2d

 2 Cir.1990)). Thus,

 3                       [t]he critical question [is] whether the specific risks of prejudice and
                         possible confusion [are] overborne by the risk of inconsistent
 4                       adjudications of common factual and legal issues, the burden on
                         parties, witnesses and available judicial resources posed by multiple
 5
                         lawsuits, the length of time required to conclude multiple suits as
 6                       against a single one, and the relative expense to all concerned of the
                         single-trial, multiple-trial alternatives.
 7
     Morgan v. Napolitano, No. CIV. S-09-2649 LKK/DAD, 2012 WL 4755034, at *2 (E.D. Cal. Oct.
 8
     4, 2012).
 9
                 B.      Motion to Appoint Interim Lead Counsel
10
                 “The court may designate interim counsel to act on behalf of a putative class before
11
     determining whether to certify the action as a class action.” Fed. R. Civ. P. 23(g)(3). This rule
12
     “authorizes [a] court to designate interim counsel during the pre-certification period if necessary to
13
     protect the interests of the putative class.” Fed. R. Civ. P. 23 advisory committee’s note to 2003
14
     amendment. It recognizes that “it will usually be important for an attorney to take action to prepare
15
     for the certification decision” and thus that designation of interim counsel may be necessary due to
16
     “rivalry or uncertainty.” Id.; Azpeitia v. Tesoro Ref. & Mktg. Co. LLC, No. 17-cv-00123-JST, 2017
17
     WL 4071368, at *2 (N.D. Cal. Sept. 14, 2017) (stating that this rule “authorizes [a] court to
18
     designate interim counsel during the pre-certification period if necessary to protect the interests of
19
     the putative class”). Doing so “clarifies responsibility for protecting the interests of the class during
20
     precertification activities.” Manual for Complex Litigation (Fourth) § 21.11 (2004).
21
                 “Although Rule 23(g)(3) does not provide a standard for appointment of interim counsel,
22
     courts typically look to the factors used in determining the adequacy of class counsel under Rule
23
     23(g)(1)(A).” In re Seagate Tech. LLC Litig., No. 16-cv-00523-RMW, 2016 WL 3401989, at *2
24
     (N.D. Cal. June 21, 2016). These are “(1) the work counsel has done in identifying or
25
     investigating the potential claims in the action; (2) counsel’s experience in handling class actions,
26
     other complex litigation, and the types of claims asserted in the action; (3) counsel’s knowledge of
27
     the applicable law; and (4) the resources that counsel will commit to representing the class.” Fed.
28
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 1 R. Civ. P. 23(g)(1)(A). “But these considerations are not exclusive.’” Wright & Miller,

 2 Appointment of Class Counsel, 7B Fed. Prac. & Proc. Civ. § 1802.3 (3d ed.) The Court also “may

 3 consider any other matter pertinent to counsel’s ability to fairly and adequately represent the

 4 interests of the class.” Fed. R. Civ. P. 23(g)(1)(B).

 5 IV.      ARGUMENT

 6          A.      Consolidation Would Prejudice the Braxton Class by Diluting Its Claims and
                    Slowing Its Substantial Progress
 7
                    1.      The Braxton Class Will Be Prejudiced by the Dilution of Its Claims
 8
            Consolidation is inappropriate if it results in “inefficiency, inconvenience, or unfair
 9
     prejudice to a party.” Sanders v. VeriFone Sys., Inc., No. 13-cv-01038-EJD, 2013 WL 5550435,
10
     at *2 (N.D. Cal. Oct. 7, 2013). Consolidation would be unfair and prejudicial to the Braxton class
11
     because it would significantly dilute the Braxton Plaintiffs’ allegations and materially hamper
12
     their claims, most importantly their ability to obtain class certification. See Jackson v. City & Cty.
13
     of San Francisco, No. C 09-2143 RS, 2010 WL 11582918, at *1 (N.D. Cal. Dec. 16, 2010) (noting
14
     that it would be “unfair” to force a narrower class into a broader class via consolidation).
15
            A large class encompassing all minority mortgage applicants, with no defined class period,
16
     will inevitably present more concerns with respect to commonality, as well as with the adequacy
17
     and typicality of the associated class representatives. Indeed, one of the (many) reasons the
18
     Braxton Plaintiffs filed on behalf of only Black homeowners discriminated against in the
19
     refinancing process was the feasibility of certification of that targeted class. Lumping the Braxton
20
     class into a far broader and varied class will undeniably undermine the Braxton Plaintiffs’ ability
21
     to certify their class, and, thus, the circumstances here do not warrant consolidation.
22
                    2.      The Braxton Class Will Be Prejudiced by the Delay Consolidation
23                          Would Cause
24          The Braxton Plaintiffs will also be prejudiced by the delays connected to a consolidated
25 matter. The factual development thus far in Braxton—incorporating detailed information from

26 confidential witnesses that is absent from any of the other pending cases—exceeds the factual

27 development in other cases Wells Fargo seeks to consolidate. See supra Section II.B. The

28 Perkins complaint does not contain a comparable level of detail.
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 1               Further, the Braxton Plaintiffs have already served document requests on Wells Fargo

 2 concerning the refinancing practices and associated underwriting department. Wells Fargo’s

 3 response to those requests will be triggered after the parties’ Rule 26 meet and confer. The

 4 Perkins Plaintiffs have not issued any document requests to Wells Fargo.

 5               Combining Braxton with Perkins will lead to a halt in the progress already made in

 6 Braxton while the broader plaintiffs group in Perkins attempt to catch up.

 7                      3.      The Classes Across the Cases Are Different

 8               When putative classes asserted in multiple cases are substantially different, as they are
 9 here, consolidation is not appropriate. Lopez v. Liberty Mut. Ins. Co., No. 14-cv-05576 BRO

10 (JCx), 2014 WL 12853283, at *6 (C.D. Cal. Oct. 24, 2014). In Lopez, the court denied plenary

11 consolidation of pending class actions because there was “a legitimate concern regarding the scope

12 of the putative classes in each case.” Id. The court reasoned that if discovery revealed that the

13 classes were in fact different, then the class actions should not be consolidated. See id. (reasoning

14 that if the classes are “materially distinct” then “it would be prejudicial to Plaintiffs to consolidate

15 these classes”).

16               The potential classes in Williams, Braxton, Thomas, Ebo and Perkins are each different.
17 That is an undisputed fact. The proposed classes in Pope and Thomas include non-Black minority

18 applicants. The proposed classes in Ebo and Williams address mortgage origination in addition to

19 refinancing and have an undefined class period. And the Perkins proposed class is the broadest of
20 all as it includes non-Black minority applicants and mortgage origination in addition to

21 refinancing. Because there are different class definitions across the six cases, and because the

22 Braxton class is the most narrow and progressed class, the Court should not consolidate all of the

23 cases and diminish the Braxton claims.

24                      4.      Any Convenience and Economy from Consolidation Will Not Override
                                the Prejudice to the Braxton Class
25
                 Consolidation should only be granted when “consolidation would produce substantial
26
     tangible efficiencies warranting the Court to override the Plaintiffs’ autonomy in mastering their
27
     own complaints.” Anderson Living, 297 F.R.D. at 631 (explaining that the efficiencies the moving
28
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 1 party claimed would result from consolidation did not outweigh the plaintiffs’ right to pursue the

 2 case that they had initiated and denying consolidation).

 3           The Perkins plaintiffs claim, without analysis, that consolidation is proper and “crucial for

 4 the effective and efficient administration of justice for all of the Parties.” (Mot. at 8:7-8.) While

 5 the motion for appointment of interim lead counsel does not explain why consolidation would

 6 provide for the efficient administration of justice here, the Perkins Plaintiffs argued in their

 7 Response in Support of Defendants’ Motion to Consolidate5 that consolidation would prevent

 8 “inefficient and duplicative discovery.” Case No. 3:22-cv-03455, Dkt. 38 at 11. But

 9 “[d]uplicative discovery can be avoided by permitting discovery in each related action to be used

10 in all related actions.” Campbell, 2008 WL 3836972, at *3; Anderson Living, 297 F.R.D. at 631.

11 Thus, “many of the efficiency gains sought to be achieved by consolidation can also be achieved

12 without consolidation,” id., and there is no reason for the Court to dilute the Braxton claims in

13 order to gain any judicial economy.

14           B.      The Braxton Firms Must Lead the Braxton Class

15                   1.      The Braxton Firms Filed the First and Only Action on Behalf of Black
                             Refinancing Applicants
16
             The Braxton Firms were the first to file a class action alleging that Black borrowers were
17
     discriminated against in the home loan refinancing process. “Courts have held that the first-to-file
18
     factor may be considered an ‘objective tie-breaker’ in appointing lead counsel” in close cases. In
19
     re Apple Inc. S’holder Derivative Litig., No. 19-cv-05153-YGR, 2020 WL 3507426, at *1, n.2
20
     (N.D. Cal. June 29, 2020); see also Robbins v. Phillips 66 Co., No. 18-cv-00292-RS, 2019 WL
21
     13119275, at *3 (N.D. Cal. Aug. 8, 2019) (“The only factor that separates the two is that [firm A]
22
     has been involved in this litigation from the outset. [Firm A] filed the [] matter first . . . they
23
     therefore will be appointed as interim class counsel.”).
24
             In addition, the first-filed Braxton complaint spurred the filing of all the subsequent
25
     refinancing complaints, further supporting the appropriateness of appointing the Braxton Firms as
26

27
     5
     The Perkins Plaintiffs directed this Court to its Response in Support of Defendants’ Motion to
28 Consolidate for a more “detail[ed]” explanation as to why the matters should be consolidated.
   Mot. at 8.
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 1 lead counsel. In re GSE Bonds Antitrust Litig., 377 F. Supp. 3d 437, 438 (S.D.N.Y. 2019) (“[T]he

 2 Scott/Lowey complaint is clearly the template for the great majority of the cases filed since and . .

 3 . weighs in favor of appointment.”)

 4                      2.     The Braxton Complaint is the Most Comprehensive Pleading

 5               As evident in the comprehensive FAC filed in Braxton, the Braxton Firms have performed
 6 substantial work in building a case focusing on Wells Fargo’s specific set of policies and practices

 7 relating to refinance applications and its discriminatory impact on Black borrowers. In appointing

 8 interim lead counsel, courts evaluate “[t]he quality of pleadings [to help] determin[e] counsel’s

 9 ability and adequacy to represent the interests of the class.” Case v. Merlin Ents. Grp. U.S.

10 Holdings Inc., 20-cv-01049 JAH-MSB, 2021 WL 1195813, at *5 (S.D. Cal. Mar. 30, 2021); see

11 also Cadena, 2020 WL 3107798, at *4 (selecting as interim lead counsel the two firms that

12 prepared the most “detailed complaints.”); Potzner v. Tommie Copper Inc., 2016 WL 304746, at

13 *1 (S.D.N.Y. Jan. 4, 2016) (“As reflected in the detailed 86-page complaint filed in the Lucero

14 action, Faruqi and Marron have done more work than Cuneo and Lockridge to investigate and

15 identify potential claims in this action.”).

16               In preparing their case against Wells Fargo, the Braxton Firms interviewed several
17 confidential informants, which revealed (1) that the bank collects “key geographic, financial, and

18 demographic data” and processes them in a CORE algorithm, (2) that Wells Fargo management

19 got real-time data about how its policies were worsening racial disparities, and (3) that, rather than
20 rectifying the problem, management pressured loan officers to increasingly rely on these

21 discriminatory algorithms. Dkt. 14 at ¶¶ 70-78, 103-105; see Lowery v. Spotify USA Inc., No. 15-

22 cv-09929-BRO (RAOx) 2016 WL 6818756, at *3 (C.D. Cal. May 23, 2016) (selecting as interim

23 lead counsel the two firms that “interviewed numerous industry participants to confirm the theory

24 of the case, develop the allegations, and understand the industry.”) This research is reflected in

25 the Braxton FAC, which goes into great detail discussing how the algorithm’s use of geographic

26 indicators, Bayesian Improved Surname Geocoding (which were used as demographic indicators),

27 post-close liquidity requirements, uncorrected and racially-based home appraisals, and

28 indefensibly high FICO requirements can cause disparate racial disparities and impact. Id. at ¶¶
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 1 82-92. At the heart of the Wells Fargo process challenged in Braxton is a new online mortgage

 2 application and associated tools and the manner in which Wells Fargo supervised (or failed to

 3 supervise) the operation of these data collection and review processes. Id. at ¶¶ 82-91, 100-105.

 4               The Braxton Firms also interviewed scores of Black victims and listened to their stories.

 5 See Cadena, 2020 WL 3107798, at *5 (selecting as interim lead counsel the two firms that

 6 “interviewed approximately 80 putative class members as part of an ongoing independent

 7 investigation of Plaintiffs’ claims.”). The Braxton Firms have further consulted with experts with

 8 domain expertise in algorithmic modeling and discriminatory biases associated with artificial

 9 intelligence and machine learning, consulted with civil rights and housing organizations seeking to

10 support the Braxton Plaintiffs, and engaged a highly-regarded damages expert to assist the class on

11 analyzing damages and the value of other non-monetary relief. See Braxton Plaintiffs’ Request

12 For Judicial Notice, Ex. B, Ellis Declaration ¶ 8. The Braxton firms’ work in this case so far

13 reflects the care and commitment they have devoted, and will continue to devote, to this litigation

14 and the Putative Refinancing Class.

15               In support of its bona fides, the Perkins Plaintiffs contend that they “interviewed dozens of

16 individuals . . . over the last six months,” “consulted with experts,” and “researched the potential

17 scale of damages.” (Mot. at 9:18-23.) While the Perkins complaint does not reflect the fruits of

18 such labor and includes allegations that are vague or conclusory, the Braxton amended complaint

19 sets forth, in detail, the information obtained from the confidential informants interviewed by the
20 Braxton Firms. Additionally, the Braxton Firms, of course, have also enlisted expert consultants.

21 See Braxton Plaintiffs’ Request For Judicial Notice, Ex. B, Ellis Declaration ¶ 8. In any event, the

22 Perkins Plaintiffs cite no case law suggesting that purported interviews preceding the filing of a

23 complaint alleviate the operation of the first-filed rule, or, moreover, that these consultations with

24 experts somehow strengthen the Perkins Plaintiffs’ threadbare complaints compared to the detailed

25 and lengthy Braxton complaints.

26                      3.      The Braxton Firms Are Experienced in Both Prosecuting and
                                Defending Class Actions
27
                 Courts applying Rule 23(g) emphasize proposed class counsel’s experience and knowledge
28
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 1 of the applicable law. See, e.g., In re Cree, Inc. Sec. Litig., 219 F.R.D. 369, 373 (M.D.N.C. 2003).

 2 Courts should consider not only counsel’s expertise with the substantive law at issue, but also

 3 “counsel’s experience in handling class actions, other complex litigation, and the types of claims

 4 asserted in the action.” Fed. R. Civ. P. 23(g)(2).

 5               The Braxton Firms are uniquely qualified to serve as interim counsel for the Putative

 6 Refinancing Class. Consisting largely of former “big firm” partners and associates, the Braxton

 7 firms have extensive experience both prosecuting and defending class actions. This dual

 8 experience makes the Braxton Firms uniquely positioned to represent the Putative Refinancing

 9 Class because of their greater knowledge of the law and the pitfalls and limitations of their

10 putative plaintiffs’ theory. The Braxton Firms’ extensive experience is set forth, in detail, in their

11 motion for appointment of lead counsel over the narrow Braxton class. See Braxton Plaintiffs’

12 Request for Judicial Notice, Exhs. A, B, & C.

13                      4.     The Braxton Firms Are Willing to Commit Significant Resources to
                               This Case
14
                 Rule 23(g) mandates the Court consider the resources proposed class counsel will commit
15
     to the lawsuit's prosecution. LeBeau v. U.S., 222 F.R.D. 613, 618 (D.S.D. 2004) (“In considering
16
     the resources that counsel will commit to representing the class, the Court may consider the staff,
17
     supplies and professional commitments of that attorney.”). EGC is a bicoastal firm with 57
18
     lawyers total and has partnered with FSS, a class action boutique. Each firm is willing and able to
19
     contribute as many of their lawyers as are needed to this litigation as is necessary and efficient.
20
     V.          CONCLUSION
21
                 For the reasons set forth above, the Court should deny the Motion for Appointment of
22
     Interim Lead Counsel filed by Gustafson Gluek PLLC in its entirety.
23

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 1                                         ATTORNEY ATTESTATION

 2               Pursuant to Civil L.R. 5-1(h)(3), I hereby attest that concurrence in the filing of this

 3 document has been obtained from each of the other signatories.

 4

 5                                                           /s/ Dennis S. Ellis
                                                             Dennis S. Ellis
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